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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


EMILY C. KROLL,

                   Plaintiff,
                                         Civil Action No.: 1:09-CV-626
vs.
                                         HON. GORDON J. QUIST

WHITE LAKE AMBULANCE
AUTHORITY,

                   Defendant.


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                     PLAINTIFF’S BRIEF IN SUPPORT OF
                   MOTION TO ALTER OR AMEND JUDGMENT
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                                    I. INTRODUCTION

       Plaintiff has moved this court, pursuant to Rule 59 of the Federal Rules of Civil

Procedure, to reconsider its order granting the defendant’s motion for summary judgment.

In its Opinion, the court dismissed Emily Kroll’s Americans With Disabilities Act (“ADA”)

claim on the ground that “[T]he counseling or therapy did not constitute a medical

examination.” (Court’s Opinion, p 4). While this argument was raised in defendant White

Lake Ambulance Authority’s (“WLAA’s”) summary judgment brief, the argument was limited

to a half page and no citation to the record or to any supporting authority was included in

WLAA’s brief. (Defendant’s summary judgment brief, p 10). Nor was any authority on this

issue included in defendant’s reply brief. Because this dispositive issue was not addressed

extensively in plaintiff’s summary judgment briefing in light of defendant’s briefing, because

the court drew inferences from the facts favorable to WLAA, and because the court’s

Opinion is contrary to the law, plaintiff requests that the court reconsider its order granting

WLAA’s motion for summary judgment.

                                      II. ARGUMENT

       A.     The Standard of Review for Rule 59 Motions.

       Fed. R. Civ. P. 59(e) states: “A motion to alter or amend judgment must be filed no

later than 28 days after the entry of the judgment.” The court entered its judgment on

August 19, 2010, making this motion timely. While the rule does not discuss the specific

reasons for granting a Rule 59 motion, the Sixth Circuit has held that a court should alter

a judgment if there is: (1) a clear error of law; (2) newly discovered evidence; (3) an

intervening change in controlling law; or (4) a need to prevent manifest injustice. See,



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Intera Corp. v. Henderson, 428 F.3d 605, 620 (6th Cir. 2005). “The rule essentially enables

a district court to correct its own errors, sparing the parties and the appellate courts the

burden of unnecessary appellate proceedings.” Russell v. Delco Remy Div. of General

Motors Corp., 51 F.3d 746, 749 (7th Cir. 1995). Plaintiff’s motion asserts that the court

should correct a clear error of law and amend its judgment to prevent manifest injustice.

       B.     White Lake Ambulance Authority’s Decision to Compel
              Emily Kroll to Receive Psychological Counseling as a
              Condition of her Employment Constitutes a Psychological
              Evaluation as Defined in the ADA.

       In its Opinion, the court stated: “The court need not determine whether WLAA had

a reasonable basis to justify its demand that Kroll attend counseling sessions, because

contrary to Kroll’s claim, counseling alone does not constitute a medical examination under

the ADA.” (Opinion, p 6). For the reasons outlined below, a reasonable inference to be

drawn from the evidence presented in the summary judgment documents was that the

counseling mandated by WLAA for Emily Kroll included a “psychological evaluation,” and

such evaluations are regulated by the ADA.

              1.     A “Clinical Evaluation” Performed by a Psychologist
                     Is a Medical Examination under the ADA.

       The court’s Opinion states that neither the ADA nor the regulations and

interpretative guidance issued by the EEOC define the term “Medical Examination.” (Id).

However, the EEOC’s enforcement guidance does include a definition of the term “Medical

Examination.” The guidance document states as follows:

              2.     What is a “medical examination?”

              A “medical examination” is a procedure or test that seeks
              information about an individual’s physical or mental
              impairments or health.



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EEOC, Enforcement           Guidance:       Disability   Related   Inquiries   and        Medical

Examinations of         Employees    under      the Americans      With    Disabilities    Act, No.

915.002,      ¶     2      (July      27,     2000).     This   document       is    available      at

http://www.eeoc.gov/policy/docs/guidance/inquiries.html.                  (“EEOC     Enforcement

Guidance”).

        According to the EEOC, “psychological tests that are designed to identify a mental

disorder or impairment” are “medical examinations,” while “psychological tests that

measure personality traits such as honesty, preferences, and habits” are not. EEOC

Enforcement Guidance, ¶ 2. The EEOC also list seven factors that “may be relevant in

determining whether a test or procedure is a medical examination.” (Id). Those factors

are:

                  (1)    Whether the test is administered by a health
                         care professional;

                  (2)    Whether the test is interpreted by a health care
                         professional;

                  (3)    Whether the test is designed to reveal an
                         impairment of physical or mental health;

                  (4)    Whether the test is invasive;

                  (5)    Whether the test measures an employee’s
                         performance of a task or measures his/her
                         physiological responses to performing a task;

                  (6)    Whether the test is normally given in a medical
                         setting; and

                  (7)    Whether medical equipment is used.

(Id).



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       As noted in Plaintiff’s Brief in Opposition to the Defendant’s Motion for Summary

Disposition, the court in Barnes v. Cochran, 944 F. Supp. 897 (S.D. Fla. 1996), found that

a psychologist’s “clinical evaluation” was a prohibited “medical examination” under the

ADA. In the Barnes case, the court considered whether a sheriff department’s pre-

employment psychological evaluation of a corrections deputy applicant constituted a

prohibited pre-offer medical examination under the ADA. The court in the Barnes decision

found that it was and stated:

              This conclusion is compelled by the nature and extent of the
              examination performed, as reflected in Dr. Stock’s report, and
              by the fact that the examination was performed by a limited
              licensed psychologist. Dr. Stock’s report reflects that plaintiff
              was referred for a “clinical evaluation.” Dr. Stock’s questions
              covered not only a wide range of incidents in plaintiff’s life, but
              probed areas tending to disclose specific psychological
              disabilities, such as Post-Traumatic Stress Disorder.

Id. at 904.

       The court in Barnes rejected the defendant’s argument that the only medical

examinations that are impermissible under the ADA are those where the examiner intends

to determine whether the applicant has a disability. Id. at 904. Other courts have agreed

that administration of the MMPI, even without an evaluation of the test results by a

psychologist, is a “medical examination” under the ADA. See, Karraker v. Rent-A-Center,

411 F.3d 831 (7th Cir. 2005).

       This court’s Opinion did not address the Barnes decision, and Barnes is the closest

case to the circumstances of this case. Nor did the court address the case of Borgus v.

Smithkline Beecham Corp., No. 02-CV-6472, 2004 WL 2095534, *5 (W.D.N.Y. 2004),

where the court denied the defendant’s summary judgment motion because the court was


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“unable to find the treatment agreement . . . was no more intrusive than necessary under

the circumstances.”

       The court relied upon Jaques v. Herbert, 447 F. Supp. 2d 858 (N.D. Ohio 2006), as

a case that directly addressed whether a drug treatment program is a medical examination.

But the Jaques case did not address psychological treatment. At issue in Jaques was a

stipulation in a last-chance agreement that plaintiff attend a drug treatment program. The

court found that    “[T]here is no evidence that the treatment program involved the

assessment of plaintiff’s medical condition or the reporting of that condition back to the

company.” The Jaques case is distinguishable because there was no psychological

examination or treatment that was a component of the drug treatment program and no

report to the company about the results of the treatment. In fact, in a case cited by the

court, Law v. Garden State Tanning, 159 F. Supp. 2d 787 (E.D. Pa. 2001), the court

assumed that a drug treatment program that was coupled with a psychiatric examination

was a “medical examination” under the ADA.

       The Jaques case is also distinguishable because the agreement in that case was

negotiated with the employee’s union and the plaintiff voluntarily met with the counselor for

the employee assistance plan. Voluntary EAP plans are specifically exempted from the

medical examination restrictions of the ADA. See, EEOC Enforcement Guidance, ¶ 20.

The Enforcement Guidance states that “[A]n EAP counselor may ask employees about

their medical condition(s) if s/he: (1) does not act for or on behalf of the employer; (2) is

obligated to shield any information the employee reveals from decision makers; and (3) has

no power to affect employment decisions.” Id. In this case, as noted in the primary brief

and the court’s Opinion, Emily Kroll was not a voluntary participant in an EAP program and

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she was required to sign an authorization to release her medical records to WLAA. For

all of the foregoing reasons, the Jaques case does not support the court’s conclusion that

a treatment program is not a “medical examination.” The cases show that a treatment

program can include a medical examination and treatment. It was reasonable to infer that

the treatment program compelled by the WLAA would have included a “medical

examination” of Ms. Kroll.

              2.     A Reasonable Inference from the Evidence Presented
                     Is that a Clinical Evaluation would have Been Performed
                     As Part of the Psychologist’s Treatment Program.

       As noted in the court’s Opinion, under Fed. R. Civ. P. 56, all inferences from the

evidence must be drawn in a light most favorable to the non-moving party. (Opinion, p 5,

citing Agristor Financial Corp. v. Van Sickle, 967 F.2d 233, 236 (6th Cir. 1992)). In this

case, the court inferred from the evidence that the counseling mandated by WLAA would

not have involved any clinical evaluation of or psychological examination of Ms. Kroll.

There was, however, no evidence presented by defendant to justify the court’s inference

that mandated counseling would not have included a clinical evaluation of Ms. Kroll.

       A reasonable inference would have been that, in order to provide the mandated

treatment, the psychologist selected by WLAA would have conducted a clinical evaluation.

In fact, it would have been reasonable to infer that the psychologist may have asked

questions similar to those that Dr. Stock put to the plaintiff in the Barnes case, including

a “wide range of incidents in plaintiff’s life” and “probed areas tending to disclose specific

psychological disabilities.” Barnes v. Cochran, 944 F. Supp. 897, 904 (S.D. Fla. 1996).

Such inquiries are part of any psychological counseling program.

       For example, in the Barnes case, the psychologist performed the Minnesota Multi-

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phasic Personality Inventory Test (MMPI) and other tests. The expert retained by WLAA

in this case, Joseph J. Auffrey, Ph.D., similarly performed the MMPI, the Rorschach Inkblot

Test, a clinical examination, and psychometric testing. (Defendant’s summary judgment

brief, Exhibit P). The court’s Opinion states it was rejecting “Kroll’s suggestion that WLAA

compelled her to undergo a medical test when it required her to submit to a psychological

examination in connection with this lawsuit. (Opinion, p 8, n 3). But Ms. Kroll does not

take the position that the defense medical examination conducted by Dr. Auffrey was

prohibited by the ADA. Rather, the testing conducted by Dr. Auffrey supports Ms. Kroll’s

assertion that WLAA was expecting that a psychologist would both test and treat Mr. Kroll

as a condition of her continued employment.

       Throughout defendant’s reply brief, WLAA stated that Brian Binns determined that

plaintiff needed “psychological treatment and therapy.” (Defendant’s reply brief, p 2, 5, and

8). It was a reasonable inference that any psychologist would have been required to

conduct a clinical examination before administering treatment and therapy. In fact, the

failure to assess Mr. Kroll’s need for treatment and therapy before administering therapy

would likely have been malpractice.

       The record also supports plaintiff’s contention that defendant WLAA expected the

psychologist to investigate whether Emily Kroll was a person with a disability. For

example, Brian Binns requested that Emily Kroll see a psychologist to discuss issues

related to her mental health. (Exhibit 1, Binns dep, p 60, ln 12-15). During the meeting

where Emily Kroll was terminated, Brian Binns told Ms. Kroll that if she did not complete

counseling she could no longer work for WLAA and that she was required to see Binns

when she completed the mandated counseling. (Exhibit 2, Holmstrom dep, p 10, ln 23-25,

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p 11, ln 1-5). This testimony certainly permits the reasonable inference that Binns was

looking to the psychologist and Ms. Kroll to confirm that the treatment had succeeded and

that plaintiff was well enough to return to work. Such treatment would have necessitated

a clinical evaluation of the plaintiff.

       The court’s Opinion states: “In this case, nothing in the record suggests that the

counseling WLAA required Kroll to attend would have involved or required psychological

testing.” (Opinion, p 8). However, there was nothing in the record to indicate that the

counseling compelled by WLAA would not have required psychological testing. And it is

a reasonable inference that the counseling at issue would have required at least some

psychological testing. At the very least, it was premature for the court to make a ruling with

regard to what would have transpired with the testing as defendant presented no evidence

regarding what the counselor would or would not have done as part of the counseling

regime.

       The court also concluded that only one of the seven EEOC factors used to

determine whether a test or procedure is a medical examination would have been satisfied

by the compelled counseling demanded by WLAA. (Opinion, p 8). But factors (2), (3), and

(6) would also have been met. A health professional - a psychologist - was to both

administer and interpret the information provided at the sessions (Factor 2). For the

reasons discussed above, it would have been necessary for the psychologist to have

tested Ms. Kroll to determine whether she was suffering from an impairment of her mental

health (Factor 3). The plaintiff would also have received the counseling or testing at the

psychologist’s office (Factor 6). Therefore, four of the seven factors for a medical

examination appear to have been met by the compelled treatment. “One factor may be

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enough to determine that a test or procedure is medical.” EEOC Enforcement Guidance,

¶ 2.

       The court also inferred from Jean Dressen’s self-serving testimony that the release

of Mr. Kroll’s medical records was sought “only to confirm that [Kroll] was attending the

weekly meetings.” (Opinion, p 8, n 3). But Ms. Kroll’s complete medical records would

not have been necessary to evaluate her attendance at the sessions. And Jean Dressen’s

statement about the purpose for requesting the records also appears contrary to Brian

Binns’s testimony that Ms. Kroll would be required to meet with him after she completed

the mandated counseling and before she was permitted to return to work. (Holmstrom

dep, p 10-11). If defendant was only interested in confirming that Ms. Kroll attended the

counseling sessions, why was a meeting with Mr. Binns a prerequisite to her return to work.

Defendant’s request for plaintiff to sign an authorization to release medical records also

independently violates another provision of the EEOC Guidance. Even when an employee

requests a reasonable accommodation, the “employer cannot ask for employee’s complete

medical records because they are likely to contain information unrelated to the disability

at issue and the need for accommodation.” EEOC Enforcement Guidance, ¶10.

       Other courts have found requests for psychological records to be a factor supporting

a violation of the medical examination provisions of the ADA. See, Jackson v. Lake

County, No. 01-C-6528, 2003 WL 22127743 (N.D. Ill. 2003). See also, Scott v. Napolitano,

No. 08-CV-0735 BTM (JMA), 2010 WL 1797032 (S.D. Cal. 2010) (medical questionnaire

submitted to employee asking about prior treatment for mental conditions and medications

found to violate the ADA medical examination provisions).



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          At the very least, summary dismissal of this case without information about what

would have taken place at the counseling sessions was premature. And plaintiff had no

reason to include an extensive discussion of this topic in her brief opposing defendant’s

summary judgment motion, as defendant’s brief did not include a single citation to support

its argument that the forced treatment was not a medical examination.

                                       IV. CONCLUSION

          For the foregoing reasons, plaintiff, Emily Kroll, respectfully requests this court to

reconsider its decision granting the WLAA’s motion for summary judgment and to issue a

revised order denying the defendant’s motion.

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